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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                 BID PROTEST




AMAZON WEB SERVICES, INC.,

                            Plaintiff,
                                                    Case No. 19-cv-01796
     V.
                                                    Judge Campbell-Smith
UNITED STATES OF AMERICA,
by and through the U.S . Department of Defense,

                            Defendant,
                                                    FINAL REDACTED VERSION
     and

MICROSOFT CORPORATION,

                            Defendant-Inte1venor.



                 PLAINTIFF'S- SUR-REPLY TO
 DEFENDANT'S REPLY IN SUPPORT OF ITS MOTION FOR VOLUNTARY REMAND
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                                         INTRODUCTION

        Amazon Web Services, fuc. ("AWS") submits this Sur-Reply to Defendant's Reply in

Suppo1t of its Motion for Voluntary Remand, ECF No. 185 ("Reply"). The Reply raised two

fundamental issues th at Defendant did not mention, much less argue, in its initial Motion for

Voluntary Remand, ECF No. 177 ("Motion"). First, Defendant claimed-contra1y to this Comt 's

precedent-that by framing its proposed con ective action as a request for "remand," Defendant

can deprive this Comt of authority to evaluate the rationality of the con ective action the

Depaitment of Defense ("DoD") intends to take. Second, Defendant revealed, for the first time,

that DoD will amend th e solicitation to confo1m th e definition of "highly accessible" storage to

Microsoft's proposed technical solution for Price Scenai·io 6, while forbidding changes to unit

prices or discounts. Each of these newly raised issues bolsters A WS 's request for close an d cai·eful

scrntiny of DoD's illuso1y proposed con ective action for rationality and fairness, as required by

this Comt 's precedent.

        I.     DEFENDANT'S REQUEST FOR REMAND PROPOSED CONCRETE
               CORRECTIVE ACTION THAT IS SUBJECT TO THIS COURT'S
               SCRUTINY.

        The Comt 's prelimina1y injunction decision, ECF No. 173 ("Decision"), held AWS is

likely to succeed on the merits of its protest because DoD likely "ened in detennining that

intervenor-defendant's Factor 5, Price Scenai·io 6 was ' technically feasible ' according to the

defined te1ms of the solicitation." Decision at 9. The Comt added that this evaluation en or likely

prejudiced AWS because Microsoft's failure to provide compliant online storage for Price




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Scenario 6 was "quite likely ... material," such that A WS "likely is conect" that Defendant

"should have assigned a deficiency" to Microsoft's proposal for Factor 5, Price Scenario 6. 1 Id.

        To address the Comi's decision, Defendant asked the Comito remand this case to DoD for

120 days to "reconsider ce1iain aspects of the challenged agency decision." Mot. at 1. Defendant's

Motion makes clear that Defendant's sole pwpose for requesting remand is to take the following

conective actions: (i) issuance of a solicitation amendment revising the technical requirements of

Price Scenario 6, (ii) acceptance of "limited proposal revisions addressing the offerors' technical

approach to that price scenario," (iii) re-evaluation of "any revised proposals for Price Scenario 6

under both Factor 5 and Factor 9," (iv) reconsideration of the "evaluation of the offerors' online

marketplace offerings and conduct of clarifications with the offerors relating to the availability of

marketplace offerings," and (v) "reconsideration of the award decision in response to the other

technical challenges presented by AWS ." Id. at 2.

        Defendant claims that the request for remand does not reflect con ective action subject to

this Comi's rational basis review, and that "DoD .. . is entitled to detennine the scope of its own

plan of reconsideration on voluntaiy remand." Reply at 8. But as reflected in Defendant's Motion,

DoD has ah-eady detennined the scope of its "plan of reconsideration" (i.e. , conective action) by

delineating the steps it intends to take in "reconsider[ing] its evaluation of the technical aspects of




1
 As the Comi noted in its Decision, the JEDI Source Selection Plan defined a "deficiency" as "[a]
material failure of a proposal to meet a Government requirement or a combination of significant
weakness[es] in a proposal that increases the risk of unsuccessful contract perfo1mance to an
unacceptable level." Decision at 9. Moreover, the solicitation specified that a proposal that "does
not meet requirements and contains one or more deficiencies and is unawai·dable" must be rated
"Unacceptable," which would render the proposal ineligible for award. AR Tab 342 at 151510;
see also E.W. Bliss Co. v. United States, 77 F.3d 445, 448 (Fed. Cir. 1996) ("In negotiated
procurements, a proposal that fails to confo1m to the material te1ms and conditions of the
solicitation should be considered unacceptable and a contract awai·d based on such an unacceptable
proposal violates the procurement statutes and regulations.") (internal citations omitted).
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Price Scenario 6." Mot. at 2. And, for the first time in its Reply, Defendant revealed the content

of the solicitation amendment it plans to issue. See, e.g. , Reply at 10 (indicating solicitation

amendment would allow AWS to increase its reliance on nearline storage).                Defendant's

contention that "DoD has not unilaterally decided to engage in con ective action" is a semantic

sleight of hand clearly intended to evade this Comi 's scrntiny of the substance of its proposed

con ective action. Reply at 7.

        II.    CORRECTIVE ACTION PROPOSED ON REMAND IS SUBJECT TO
               RATIONAL BASIS REVIEW.

        Con ective action requires a rational basis for its implementation. D ell Fed. Sys. v. United

States, 906 F.3d 982, 991 -92 (2018) (holding rational basis test considers ''whether the contracting

agency provided a coherent and reasonable explanation of its exercise of discretion").

        fu its Reply, Defendant claims its proposed con ective action is immune from this Court's

rational basis review because there is a distinction between the procedural mechanism that would

enable Defendant to take con ective action (i.e. , remand) and the substantive pmpose of the remand

(i.e., con ective action).2 Reply at 5-7. This Comi, however, has recognized that the procedural

mechanism by which an agency seeks to reconsider a source selection evaluation does not alter the

fundamental substan ce of the undertaking-con ective action. See Centerra Grp., LLC v. United

States, 138 Fed. CL 407, 41 0 (2018) (Campbell-Smith, J.) (refening to Defendant's voluntaiy

remand as "co1Tective action in response to Centen a's protest" an d observing that "DOJ's conduct

on remand would have been rejected as a proposed con ective action if it had been clear to the



2
   Alternatively, Defendant claims that AWS 's objections to the scope of remand are "premature
and improperly prejudge DoD 's proposed reevaluation." Id. at 8. But because this Comi 's "bid
protest jurisdiction arises when an agency decides to take con ective action even when such action
is not fully implemented," neith er AWS 's objections nor this Comi 's consideration of th e improper
proposed corrective action is premature. See Sys. Application & Techs., Inc. v. United States, 691
F.3d 1374, 1381 (Fed. Cir. 2012); see also infra , Section IV.
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comt that improper and inequitable discussions were contemplated by DOJ"). Defendant cannot

use remand as both a sword to evade an adverse rnling on the merits of the existing record (in this

case, which includes both the numerous technical evaluation enors and the bias that improperly

influenced the evaluation process) and as a shield to protect from scrntiny the conective actions it

intends to take on remand.

       fu Centerra, the government filed an unopposed motion to remand the issues raised by the

protestor to the procming agency. Id. at 410. There, as here, the government stated that it "wished

to 'reconsider its award decision in light of proposal evaluation enors alleged by [protestor], and

any other ' issues raised by [protestor] ."' Id. The Comt found that the government had "voluntarily

initiated a conective action in response to [the] protest, but provided almost no details as to how

[the agency] would proceed with its conective action." Id. ; see also Centerra, No. 18-219C, ECF

No. 25 (noting only that "DOJ wishes to reconsider its award decision in light of the issues raised

by Cente1Ta," without proposing con ective action). On that basis, and without objection from the

protestor, the Comt granted the request for remand. Id. at 410. Upon review of the actions taken

on remand, however- which had not been previously revealed in the request for remand itself-

the Court applied the rational basis standard and held the government's conective actions were

arbitrary and capricious. Id. at 417. Thus, rational basis review applies to requests for remand to

implement conective action that is "clear to the court." See id.

       Defendant, however, avoids this Comt's guidance in Centerra and instead seeks suppo1t

in three decisions that Defendant claims require the Comt to confine its review to whether

Defendant's Motion has a "substantial and legitimate" basis for seeking remand. Those cases are

not applicable.




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       The "standard of review" espoused by Defendant comes from dicta in SKF USA Inc. v.

United States, 254 F.3d 1022 (Fed. Cir. 2001), which, as Defendant admits, is not a bid protest

case. SKF focused on an antidumping detennination by the Department of Commerce, and the

issue on appeal before the Federal Circuit was "the obligation of a comi to remand a case to an

administrative agency upon the agency's change in policy or statutory interpretation." Id. at 1025.

SKF did not involve an agency seeking remand in order to take coITective action, including

am ending the underlying solicitation, accepting proposal revisions, and reevaluating proposals.

Moreover, Defendant has not cited a change in policy or statuto1y interpretation that othe1w ise

would bring A WS 's protest within the purview of SKF. See Reply at 5-7. Unsmprisingly, only

two bid protest cases have ever acknowledged SKF, and neither relied on the decision to deviate

from the proper standard for reviewing challenged coITective action.

       fu the first, Field Training Support Services v. United States, the government requested

remand, with the plaintiff's consent, because the Small Business Administration Office of Hearings

and Appeals ("OHA") wanted to reconsider a prior decision after the government "found in the

record a document that was not addressed by the paiiies or OHA." No. 16-1 023C, 2016 WL

7212326, at *1 (Fed. Cl. Dec. 13, 2016). Thus, the motion for remand in Field Training was

intended to remedy an eITor that prevented the OHA from reviewing the complete record, and was

not a vehicle for coITective action, as it is here. See id. The Comi therefore had no reason to apply

the standai·d of review for assessing the rationality of coITective action prior to granting the motion

for remand. See id.

       Similai·ly, in Brooks Range Contract Services, the government requested remand, again

with the plaintiff's consent, without actually committing to coITective action. See Nos. 19-1 827C

& 19-1 828C, ECF No. 31 at 1 (Fed. Cl. Jan 10, 2020). The government merely stated that, on


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remand, it "may wish to conduct limited communication exchanges with BRCS and possibly other

offerors about these issues and other potential issues," that "[t]he agency cmTently does not intend

to conduct discussions or accept proposal revisions," and that it "potentially could make decisions

that could moot [the protest] , in whole or in paii, and may obviate the need for fini her litigation in

this Comi." See Nos. 19-1827C & 19-1828C, ECF No. 27 at 2 (Fed. CL Jan 10, 2020) (emphasis

added). Thus, the Comi had no basis to apply the standai·d of review for con ective action

challenges prior to granting the motion for remand because no concrete con ective action had been

proposed. See Nos. 19-1827C & 19-1828C, ECF No. 31 at 1 (Fed. CL Jan 10, 2020). Neither case

cited by Defendant considered a remand request that was challenged by the protestor, or that

actually proposed the con ective action to be taken.

       fu this case, by contrast, Defendant has not only stated that it seeks remand to reconsider

its evaluations and award decision, but also has identified concrete con ective actions it will take

on remand: am ending the solicitation, accepting limited proposal revisions, and reevaluating

proposals. Mot. at 2. Such measures constitute con ective action subject to the Comi's rationality

review. fudeed, unlike a remand to reconsider proposal evaluations and the awai·d decision based

on the existing administrntive record, Defendant's proposed con ective action will result in a new

administrative record for the reconsidered decision (i.e., an amended solicitation, revised

proposals, and clarification exchanges). Defendant elides this key distinction in an attempt to

avoid this Comi 's review of the rationality and fairness of the con ective action proposed. Where

a request for remand in a bid protest not only "request[s] a remand (without confessing en or) in

order to reconsider its previous position," but goes further and identifies the actions the agency

will take on remand, those proposed actions ai·e subject to the standard of review applicable to




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con ective action, and not the "substantial and legitimate concern" standard grafted out of a non-

bid protest case in circumstances that have no relevance here. See Centerra, 138 Fed. Cl. at 410.

       III.    THE PROPOSED CORRECTIVE ACTION CANNOT WITHSTAND
               RATIONAL BASIS REVIEW.

       Defendant attempts to evade rational basis review precisely because its proposed con ective

action is inational and would result in a predetennined re-award of the JEDI contract to

Microsoft- a fundamental breach of the ve1y premise of con ective action. See Manus Med. , LLC

v. United States, 115 Fed. Cl. 187, 191 (2014) (noting con ective action is intended "to ensure fair

and impaitial competition"). Defendant's Reply indicates that DoD's proposed solicitation

amendment will revise the definition of "highly accessible" storage from one that explicitly

required online storage to one that permits                                that Microsoft proposed

in response to Price Scenai·io 6. See Reply at 10, 12. In other words, Defendant admits the

proposed amendment will merely confo1m the definition of "highly accessible" to Microsoft's

offering. See Def. 's Resp. in Opp. to Pl. Mot. for Leave to File Sur-Reply at 4 (noting AWS had

an oppo1tunity to "address the possibility that the amendment would pe1mit storage that offerors

market as 'neai·line' to be included for Price Scenai·io 6"). DoD thus has plainly tailored its

con ective action to cure the deficiency identified by the Comt and ensure Microsoft's existing

proposal is eligible for award- a practice this Comt has found to be arbitraiy and capricious. See

Prof'! Serv. Indus., Inc., 129 Fed. Cl. 190, 206 (2016) (holding agency's decision to ainend

solicitation to confo1m to awai·dee's proposal was arbitrary and capricious, and that agency failed

to engage in reasoned decision-making). But DoD did not stop there: the proposed con ective

action also imposes a blanket restriction on pricing revisions in the face of this changed technical

requirement, which contradicts the RFP 's requirement for a unified pricing approach and all but



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guarantees that Microsoft will also remain the lowest priced offerer. Thus, under DoD 's proposed

con ective action, re-award to Microsoft is afait accompli.

       Defendant tries to justify this arbitrn.ry and one-sided approach by claiming broader

conective action is unwananted because AWS did not challenge DoD's evaluation of the other

price scenarios. Reply at 8-9. Defendant, however, simply ignores the facts-namely, the clear

impact of its proposed con ective action on the offerers' pricing of th e other scenarios. See id. As

Defendant admits, the solicitation required offerers to propose unifo1m unit prices and discounts

based on a holistic analysis of requirements across all of th e price scenarios based on DoD 's

projected needs.   Id. at 6; see also AR Tab 342 at 151478, 151498, and 151500. If DoD

gen ymanders the requirements for Price Scenario 6 to allow previously noncompliant nearline

storage, DoD will have changed the factual predicates upon which the offerors developed and

proposed their unified unit prices and discounts for all price scenarios. See AR Tab 342 at 151478;

See also AR Tab 375 at 154072, AWS Proposal, Vol. VI, A. I (Customized Discount Strategy:

"Our pricing discounts are based upon a comprehensive understanding of the current and future

state of DoD requirements, best in class technical solutions that optimize requirements, and a

discount strategy that focuses on delivering value to DoD." (emphasis added)). This approach is

the antithesis of a rational process designed to procure critical cloud services at the best value for

th e government.    DoD cannot gen-yman der technical requirements to suit Microsoft's non-

compliant offer but hold A WS to pricing that was offered in connection with a compliant response

to the soon-to-be defunct technical requirements of the original solicitation. A WS must have the

ability to compete on value-which is the combination of technical solution and price.

       Defendant's misconceived conjecture that AWS "regrets its pricing strategy" or failed to

"offer their best pricing to the Government" ignores this fundamental reality. Reply at 8, 10. As


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required by the RFP, AWS offered its best pricing based on the technical requirements of the

solicitation .3 See AR Tab 342 at 151498, 151500. But Defendant now intends to change those

requirements without providing offerors a coITesponding opportunity to revise their pricing. Given

the Government 's mandate under the JEDI solicitation is to select the offeror that provides the best

value based on price and non-price factors, which should have resulted in award to A WS as the

on~y o.fferor that submitted a comp liant p roposal, it is inational and unfair for DoD to require

offerors to maintain their pricing while changing the technical requirements upon which that

pricing is based.4 That is not a quest to award the contract to the offeror that provides the best

value; it is a quest to reproduce the same flawed result. It is not coITective action that should be

pen nitted by this Comt.

         Defendant also suggests that allowing the offerors to revise unit prices and discounts would

prejudice Microsoft because, as the awardee, its total evaluated price was disclosed to AWS, while

Microsoft does not know AWS's total evaluated price. Reply at 9-1 0. Defendant 's concern, like


3
  AWS based its proposed discount for online storage on DoD's projected needs, as stated in the
price scenarios. See AR Tab 342 at 151478 ("[The] scenarios included in Section Lare based on
the Government 's proj ected needs ... "). Many factors go into the pricing of a service, but a
primaiy driver is projected sales. A higher volume of projected sales allows for lower pricing
because the expenses related to the development and delive1y of a se1v ice can be spread out over
the increased volume. It is nonsensical to require A WS to maintain its existing discount structure
while modifying the requirements on which those discounts are based, paii iculai·ly where the
solicitation amendment Defendant plans to issue will only se1v e to make the technical approach
proposed by Microsoft technically compliant, thereby allowing Microsoft to maintain discounts
specifically designed in connection with its previously noncompliant offering.

4
  If DoD is unwilling to allow revisions to unit prices and discounts, another alternative would be
to amend the RFP to remove Price Scenario 6 altogether, as AWS suggested in its Opposition. Pl.
Opp. Mot. for Vol. Remand, ECF No. 181 at 6. Although Defendant suggests this approach would
"tilt" the "playing field" in A WS 's favor, Reply at 11, in reality, removing Price Scenario 6 would
allow the government to reevaluate its award decision without the need for a solicitation
amendment or proposal revisions, while simultaneously nullifying the "misunderstanding"
Defendant claims prevented Microsoft from submitting a technically compliant proposal (and the
DoD from fairly evaluating the offeror 's prices), id. at 12.
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its proposed coITective action, is illuso1y. A protester always knows the original awardee's

proposed price-which is disclosed in debriefings and generally made public- and yet agencies

have consistently managed to conduct fair and equal procurements following con ective action.

See e.g., Am. Material Handling, Inc. , B-406739, Aug. 14, 201 2, 2012 CPD ~ 234 at 4 ("Where,

as here, the tennination of an awardee's contract and reopening the competition are othe1w ise

proper, prior disclosure of an offerer's price does not preclude resoliciting or reopening the

competition."); Nova Techs., B-403461.3 et al., Feb. 28, 2011 , 2011 CPD ~ 51 at 4 ("[A]n agency

is not required to equalize the possible competitive advantage flowing to other offerers as a result

of the release of info1mation in a post-award setting where the release was not the result of

preferential treatment or other improper action on the pa1t of the agency."). And, as Defendant

notes, the offerers would have "an equal chance to revise their proposals." See Reply at 11 .

Microsoft therefore could adjust its pricing if it is concerned that its price competitiveness is in

jeopardy, which would only serve to benefit the taxpayer. Defendant's purpo1ted concern thus is

a fiuther contrivance designed to evade meaningful review by this Comt.

       IV.     JUDICIAL EFFICIENCY REQUIRES APPLICATION                                OF     THE
               CORRECTIVE ACTION STANDARD OF REVIEW.

       Defendant's attempt to shield its proposed con ective action from meaningfol judicial

review also raises a fiut her concern. Defendant has explained the substance of DoD's proposed

con ective action, yet it claims the Comt may not review its rationality. If the Comt accepts this

contrivance, A WS will have to file a separate protest once DoD issues its proposed solicitation

amendment to seek redress with the Comt . Delaying AWS's ability to challenge DoD's proposed

con ective action, however, would be contraiy to the Federal Circuit's guidance that "bid protest

jurisdiction ai·ises when an agency decides to take coITective action even when such action is not

fully implemented." See Sys. Application & Techs ., 691 F.3d at 138 1.
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       By evading evaluation of th e rationality of DoD's proposed con ective action now,

Defendant would require AWS to wait to challenge DoD 's con ective action until DoD begins its

implementation through the proposed solicitation amendment. And where DoD has afready

proposed con ective action in its request for remand, Defendant is likely to claim that any

post-implementation challenge to that con ective action is untimely in its continuing gam e of

"heads I win, tails you lose." Cf Sotera Def Sols., Inc. v. United States, 11 8 Fed. CL 237, 255

(2014) (declining to find waiver over con ective action protest but noting "the unce1tainty as to the

appropriate deadline for avoiding waiver of a con ective action protest"). This maneuvering will

lead to needless delay, which is pait icularly unwananted in a setting where Defendant has

repeatedly professed an interest in expedience for the sake of national security. The Comt should

not allow Defendant to impose such a burden on A WS or this Comt .

                                         CONCLUSION

       DoD 's proposed con ective action on remand, as detailed in Defendant's Motion and Reply,

is subject to rational basis review under this Comt 's precedent. When evaluated under the

appropriate stan dai·d of review, the con ective action-which DoD tailored to cure the deficiency

this Comt identified in Microsoft's proposal while suppressing A WS 's ability to compete on a best

value basis- is neither rational nor fair. Accordingly, consistent with its authority in con ective

action challenges to "delineate the area of fmt her consideration or action deemed wananted on the

remand," AWS requests that the Court deny Defendant's Motion, and require DoD to revise its

con ective action to reasonably reconsider the JEDI award decision by (i) pennitting offerors to

revise their unit prices and discounts across all Price Scenai·ios, or removing Price Scenario 6 from

the evaluation; and (ii) re-evaluating proposals with respect to all the en ors identified by the

protest. See Diversified Maint. Sys., Inc. v. United States, 74 Fed. CL 122, 127-28 (2006) ("When


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a remand is appropriate, this comt may provide the agency with such direction as [this court] may

deem proper and just .. .. An order of remand shall . . . delineate the area of fmther consideration

or action deemed wan anted on the remand." (internal citations omitted)). Such con ective action

is necessary to provide an even playing field for the offerers and is more conducive to an award

that actually advances the public interest.



Dated: April 9, 2020                          Respectfully submitted,




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